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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF WYOMING

STEPHANIE WADSWORTH,
individually and as parent and legal
guardian of W.W., K.W., G.W., and L.W.,
minor children, and MATTHEW
WADSWORTH

        Plaintiffs,

v.                                             Case No. 2:23-CV-00118-KHR

                                               JURY TRIAL DEMANDED

WALMART INC. and JETSON
ELECTRIC BIKES, LLC,

        Defendants.


     DECLARATION OF TALY GOODY IN RESPONSE TO ORDER TO SHOW CAUSE

        Pursuant to this Court’s Order to Show Cause entered on February 6, 2025 (Dkt. 156) ) and

pursuant to 28 U.S.C. § 1746, I hereby declare as follows:

     1. I am the Founding and Managing Partner at Goody Law Group, LLP. I have been a

        practicing attorney for almost ten years.

     2. I fully understand and appreciate my duties under Local Rule 84.2 (b) as local counsel

        sponsoring pro hac vice admission before this Court. As local counsel in good standing of

        the Bar of the State of Wyoming and the Bar of this Court, I have been fully prepared to

        represent my client at any time, in any capacity, and participate in the preparation and trial

        of the case to the extent required by the Court. I have been present in Court during all

        proceedings in connection with this case, unless excused by the Court, and I have full

        authority to act for and on behalf of my clients in this matter.
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3. I was served the motion in limine filed on behalf of my clients by co-counsel, and I was

   stunned that it contained AI-generated cases.

4. My firm referred this case to Morgan & Morgan based on my husband’s interest in trying

   a case with their lead trial attorney. We were further impressed with Morgan & Morgan’s

   ability and resources to handle product liability matters.

5. I am licensed to practice law in California, Wyoming, and Minnesota.

6. I agreed to be local counsel and sponsor the pro hac vice admission of both Rudwin Ayala

   and T. Michael Morgan along with other members of the Morgan & Morgan team, pursuant

   to Local Rule 84.2(b).

7. I was not responsible for supervising or substantive moving of the case other than what is

   required in support of the pro hac vice motions.

8. I was aware of the scheduling order and the dates related to the motion in limine, however,

   I did not participate in the formulation, drafting, or research of any issue raised in the

   motion in limine.

9. Prior to the filing of the motion in limine, I was not sent a copy nor contacted by counsel

   about the substance of the motion in limine.

10. I was not aware that artificial intelligence was used in the drafting and research of the

   motion, nor did I have knowledge or access to the artificial intelligence platform utilized by

   Morgan & Morgan.

11. I am aware of the possibility of artificial intelligence to hallucinate cases, but I do not

   personally utilize it within my practice.




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   12. Had the motion been sent for review, it is my hope that I would have noticed the oddity of

       seven District of Wyoming cases cited in the motion and would have inquired about the

       same.

   13. Based on the foregoing, I respectfully request that this Court not impose sanctions against

       me under Fed. R. Civ. P. 11(b), (c); 28 U.S.C. § 1927; or the inherent power of the Court.

I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.

       Executed on February 13, 2025         Signed: /s/ Taly Goody
                                                     TALY GOODY, ESQ.
                                                     Wyoming Bar No.: 8-6737
                                                     GREYSON M. GOODY,
                                                     ESQ. GOODY LAW
                                                     GROUP
                                                     58 Malaga Cove Plaza
                                                     Palos Verdes Estates, CA 90274
                                                     Telephone: (310) 893-1983
                                                     Emails: taly@GoodyLawGroup.com
                                                     greyson@GoodyLawGroup.com
                                                     Local Counsel




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                                  CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on February 13, 2025, a true and correct copy of the foregoing

was electronically filed with the Clerk of Court using the CM/ECF system, which will send a

notice of electronic filing to all counsel of record.


                                                        /s/ Taly Goody
                                                        TALY GOODY, ESQ.
                                                        Wyoming Bar No.: 8-6737
                                                        GREYSON M. GOODY,
                                                        ESQ. GOODY LAW
                                                        GROUP
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                                                        Local Counsel




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